
















In The


Court of Appeals


Sixth Appellate District of Texas at Texarkana



______________________________



No. 06-07-00040-CR


______________________________




FREDDRICK SHARONE GAGE, Appellant



V.



THE STATE OF TEXAS, Appellee




                                              


On Appeal from the 354th Judicial District Court


Hunt County, Texas


Trial Court No. 23,133




                                                 




Before Morriss, C.J., Carter and Moseley, JJ.


Memorandum Opinion by Chief Justice Morriss



MEMORANDUM OPINION



	Freddrick Sharone Gage appeals from his conviction of possession of a controlled substance
(cocaine) in an amount of 400 grams or more.  See Tex. Health &amp; Safety Code Ann. §&nbsp;481.115
(Vernon 2003).  Gage entered an open plea of no contest and, after a hearing on punishment, was
sentenced by the trial court to ten years' imprisonment.  Gage was represented by appointed counsel
at trial and by different appointed counsel on appeal.

	Appellate counsel filed a brief July 25, 2007, under the mandate of Anders v. California, 386
U.S. 738 (1967), and Ex parte Senna, 606 S.W.2d 329, 330 (Tex. Crim. App. 1980), and has
accordingly also filed a motion to withdraw.  Counsel sent Gage a copy of the brief and advised
Gage by letter she believes there are no arguable contentions of error.  She also informed Gage of
his right to review the record and file a pro se response.  Gage has not filed a response, nor has he
requested an extension of time in which to file such a response. 

	Counsel has filed a brief which discusses the record and reviews the proceedings.  Counsel
has thus provided a professional evaluation of the record demonstrating why, in effect, there are no
arguable grounds to be advanced, as required by High v. State, 573 S.W.2d 807, 812 (Tex. Crim.
App. [Panel Op.] 1978).  See also Stafford v. State, 813 S.W.2d 503, 510 n.3 (Tex. Crim. App.
1991).  Counsel concluded from her review of the record there is no arguable point of error to
support the appeal.   

	Counsel further states in the brief that the indictment is sufficient to support the conviction,
that Gage's plea was voluntary, that Article 26.13 admonishments were given in writing (see Tex.
Code Crim. Proc. Ann. art. 26.13 (Vernon Supp. 2006)), and that the sentence imposed was within
the statutory range for the offense (see Tex. Health &amp; Safety Code Ann. § 481.115(f)).  Counsel's
statements are supported by the record.

	We have reviewed the record and find the evidence sufficient to support the conviction.  We
agree with counsel there are no arguable points of error in this case. (1)

	We affirm the judgment of the trial court.



						Josh R. Morriss, III

						Chief Justice


Date Submitted:	October 2, 2007

Date Decided:		October 3, 2007


Do Not Publish
1. Since we agree this case presents no reversible error, we also, in accordance with Anders,
grant counsel's request to withdraw from further representation of Gage in this case.  No substitute
counsel will be appointed.  Should Gage wish to seek further review of this case by the Texas Court
of Criminal Appeals, Gage must either retain an attorney to file a petition for discretionary review
or Gage must file a pro se petition for discretionary review.  Any petition for discretionary review
must be filed within thirty days from the date of either this opinion or the last timely motion for
rehearing that is overruled by this Court.  See Tex. R. App. P. 68.2.  Any petition for discretionary
review must be filed with this Court, after which it will be forwarded to the Texas Court of Criminal
Appeals along with the rest of the filings in this case.  See Tex. R. App. P. 68.3.  Any petition for
discretionary review should comply with the requirements of Rule 68.4 of the Texas Rules of
Appellate Procedure.  See Tex. R. App. P. 68.4.


